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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

| AT TACOMA

UNITED STATES OF AMERICA,

Plaintiff,
Vv.

ROBERT R. KEPPEL, d/b/a
www.cheet-sheets.com, d/b/a

KEEN INTERACTIVE,

Defendant.

No.CROA~S1194 RE

INFORMATION

 

THE UNITED STATES ATTORNEY CHARGES THAT:
From in or about Janudry 2001, until on or about October 17, 2001, in the Western

District of Washington and el

sewhere, the defendant, ROBERT R. KEPPEL, d/b/a

www.cheet-sheets.com, d/b/a] KEEN INTERACTIVE, aided and abetted by another person

whose identity is partially knq
of Microsoft Corporation, the
convey, trade secrets, that is:
Certified Solution Developer

and placed in interstate and fa

wn to the United States Attorney, did, without the authorization
owner thereof, knowingly copy, duplicate, download, send, and
Microsoft Certified Systems Engineer (MICSE) and Microsoft

(MCSD) exams and answers; which produtts were produced for

reign commerce, with intent to convert said trade secrets to the

economic benefit of himself and others, and knowing that the offense would injure Microsoft

Corporation, the owner of the

All in violation of Title

INFORMATION/KEPPEL 1
USAO No. 2001R01084

trade secrets. :
+ 18, United States Code, Section 1832(a)(2) and Section 2.

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: UNITED STATES ATTORNEY

. 601 Union Street, Suite 5100

' Seatthe, Washingron 98101-3903
(206) 553-7970

 
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CRIMINAL FORFEITURE
Pursuant to Title 18, United States Code, Section 1834(a), as a result of the offense

alleged above, ROBERT R. KEPPEL, d/b/a www.cheetsheets.com, d/b/a KEEN
INTERACTIVE, shall forfeit to the United States of America any’ and all interest in property

constituting, or derived! from, any proceeds obtained, directly or indirectly as the result of said

 

criminal offense, and any and all property used, or intended to be used, in any manner or part

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to commit, and to facilitate the commission of such offense, including but not limited to the

following:
1, $12,552.77 seized from Keen Interactive Business Aiccount Number
153607353031 at US Bank; . -

2. $1,062.12 seized from Personal Money Market Account Number 153591054652
in the name of Robert Keppel at US Bank;

3. $1,570.16 seized from personal checking Account Number 153604461670 in the
name of Robert Keppeljat US Bank;

4, $41,785.93 seized from Cheat Sheets Business Account Number 153691259540
at US Bank;

5. A 2001 Lexus RX300 automobile, bearing VIN # JTNHF10U910197713; and

6. A 1997 Ferrari 355 Spider convertible automobile, bearing VIN #
ZFFXR48A0V0107499. |

If any forfeitable property, as a result of any act or omission of ROBERT R. KEPPEL,
d/b/a www.cheetsheetsicom, d/b/a KEEN INTERACTIVE, canndt be located upon the

  
 
 
  
 

exercise of due diligence, has been transferred or sold to or depos}ted with a third person,

has been placed beyond] the jurisdiction of the Court, has been substantially diminished in
value, or has been commingle with other property which cannot be subdivided without
difficulty, it is the intent of the United States, pursuant to Title 21, United States Code,
Section 853(p), to seek the forfeiture of any other property of ROBERT R. KEPPEL,

if

if

INFORMATION/KEPPEL 2 UNITED STATES ATTORNEY
: 601 Union Street, Suite 5100

USAO No, 2001R01084 Seattle, Wathington 08101-3003

(206) 553-7970

 
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d/b/a www .cheetsheets.com, d/b/a KEEN INTERACTIVE, up to the value of the forfeitable

property.

DATED this

INFORMATION/KEPPEL|
USAO No. 2001R01084

a th day of August, 2002,

J Rath

fp! OHN McKAY
Kok Tited States Attorney:

GPS hE

| FLOYD G. SHORT
Assigtant United States Attorney

 

 

 

ASsistant United States. Attorney

Assistant United States| Attorney

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UNITED STATES ATTORNEY
i 601 Union Street, Suite 5100

' Seattle, Washington 98101-3903
| (206) 553-7970

 
